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UNlTED STATES BANKRUPTCY COURT
SOUTl-IERN DISTRlCT OF INDIANA
INDIANAPOLIS DIVISION

lN RE:
CASE NO. 19-0106?"JMC-7
MICHAEL AMOS GREEN,

\\-/`\-/\-_i\\-_¢`\-_/

Debtor.

DEBTOR’S OBJECTION TO MOTION FOR RELIEF FROM S'I`AY
Comes now Debtor, Michael Amos Green, by counsel, Randall R. Shouse, and hereby files an
Objection lo the Motion for Re|ief from Stay for the reason that Debtor has recently received some
information from the mortgage company, Mr. Cooper, about ways to try to save the real estate, and is

exploring his option.

WHEREFOR, Debtor objects to the Motion for Relief From Stay, prays for a hearing thereon,

and for all otherjust and proper relief. M{Q

Ra\»l:iall R. shouse

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CERTIFICATE OF SERVICE
l hereby certify that a copy of the foregoing has been served upon the U. S. Trustee, 101 West
Ohio Street, Suite 1000, lndianapolis lN 46204, upon John J. Petr, Chapter ? Trustee, lll Monumenl
Circle, Suite 900, Indianapolis lN 46204, and upon Doyle & Foutty, P.C. 41 E. Washington St., Suite

400, Indianapolis IN 46294, by ordinary first-class rn ' e prepaid, or by electronic mail.

WQM

Raii"dall R. Shouse, Attorney at hLaw

     

